Fill in this information to identify the case:

Debtor name          Residents First, LLC

United States Bankruptcy Court for the:             EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    Ally Financial                                Describe debtor's property that is subject to a lien                  $31,978.26               $44,000.00
       Creditor's Name                               2019 Dodge Ram Truck
       6716 Grade Lane Bldg. 9
       Suite 910
       Louisville, KY 40213
       Creditor's mailing address                    Describe the lien
                                                     Security interest in vehicle
                                                     Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known             Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
        No                                           Contingent
        Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative       Disputed
       priority.



       U.S. Small Business
2.2                                                                                                                        $98,000.00               $67,695.00
       Administration                                Describe debtor's property that is subject to a lien
       Creditor's Name

       409 3rd Street S.W.
       Washington, DC 20416
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known             Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2


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Debtor      Residents First, LLC                                                               Case number (if known)
            Name

       No                                           Contingent
       Yes. Specify each creditor,                  Unliquidated
      including this creditor and its relative       Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $129,978.26

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       U.S. Small Business Administration
       2 North Street                                                                                    Line   2.2
       Suite 320
       Birmingham, AL 35203




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2


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